                      Case 25-90127 Document 1 Filed in TXSB on 04/21/25 Page 1 of 22

Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of Texas
                                          (State)                                                                                    ☐ Check if this is an
Case number (if known):                                      Chapter       11                                                            amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                       04/25
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Ascend Performance Materials Holdings Inc.


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer           XX-XXXXXXX
   Identification Number (EIN)

4. Debtor’s address                    Principal place of business                                          Mailing address, if different from principal
                                                                                                            place of business
                                       1010 Travis Street
                                       Number              Street                                           Number          Street

                                       Suite 900
                                                                                                            P.O. Box
                                       Houston, Texas 77002
                                          City                 State            Zip Code                    City                State      Zip Code


                                                                                                            Location of principal assets, if different
                                                                                                            from principal place of business
                                       Harris County
                                          County                                                            Number          Street




                                                                                                            City                State      Zip Code




5. Debtor’s website (URL)                 https://ascendmaterials.com/

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 1
                     Case 25-90127 Document 1 Filed in TXSB on 04/21/25 Page 2 of 22
Debtor       Ascend Performance Materials Holdings Inc.                           Case number (if known)
           Name



                                          A. Check One:
7.   Describe debtor’s business
                                          ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                          ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                          ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                          ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                          ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          ☒ None of the above

                                          B. Check all that apply:
                                          ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                          ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                          3252 (Plastics Material and Resin Manufacturing)

8. Under which chapter of the             Check One:
   Bankruptcy Code is the
   debtor filing?                         ☐ Chapter 7

                                          ☐ Chapter 9

                                          ☒ Chapter 11. Check all that apply:

                                                            ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $3,424,000 (amount subject to adjustment on
                                                              4/01/28 and every 3 years after that).

                                                            ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                              debtor is a small business debtor, attach the most recent balance sheet, statement of
                                                              operations, cash-flow statement, and federal income tax return or if all of these
                                                              documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                              chooses to proceed under Subchapter V of Chapter 11.
                                                            ☐ A plan is being filed with this petition.

                                                            ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).
                                                            ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                              Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                            ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                      ☐ Chapter 12

9. Were prior bankruptcy cases        ☒ No       District
   filed by or against the debtor     ☐ Yes.                                        When      MM/DD/YYYY     Case number
   within the last 8 years?
                                                 District                           When                     Case number
     If more than 2 cases, attach a                                                           MM/DD/YYYY
     separate list.




     Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
                    Case 25-90127 Document 1 Filed in TXSB on 04/21/25 Page 3 of 22
Debtor     Ascend Performance Materials Holdings Inc.                              Case number (if known)
          Name



10. Are any bankruptcy cases           ☐ No
    pending or being filed by a        ☒ Yes.                                                                      Relationship    Affiliate
                                                    Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?                        District      Southern District of Texas
   List all cases. If more than 1,                                                                                 When            04/21/2025
   attach a separate list.                        Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this     Check all that apply:
    district?
                                      ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      ☐    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have       ☒ No
    possession of any real            ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                      safety.
                                                      What is the hazard?
                                                ☐     It needs to be physically secured or protected from the weather.

                                                ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                       (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                       other options).
                                                ☐     Other


                                                Where is the property?
                                                                                      Number          Street



                                                                                      City                                 State       Zip Code



                                                Is the property insured?
                                                ☐ No

                                                ☐ Yes.         Insurance agency

                                                               Contact name
                                                               Phone




                 Statistical and administrative information

13. Debtor's estimation of           Check one:
    available funds
                                     ☒ Funds will be available for distribution to unsecured creditors.
                                     ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of              ☐     1-49                         ☐     1,000-5,000                      ☐     25,001-50,000
    creditors (on a                  ☐     50-99                        ☒     5,001-10,000                     ☐     50,001-100,000
    consolidated basis)              ☐     100-199                      ☐     10,001-25,000                    ☐     More than 100,000
                                     ☐     200-999




   Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
                      Case 25-90127 Document 1 Filed in TXSB on 04/21/25 Page 4 of 22
Debtor     Ascend Performance Materials Holdings Inc.                                 Case number (if known)
          Name



15. Estimated assets (on a            ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
    consolidated basis)               ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                      ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                      ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities (on         ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐ $500,000,001-$1 billion
    a consolidated basis)             ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒ $1,000,000,001-$10 billion
                                      ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐ $10,000,000,001-$50 billion
                                      ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐ More than $50 billion

                 Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of          petition.
    debtor
                                          I have been authorized to file this petition on behalf of the debtor.
                                          I have examined the information in this petition and have a reasonable belief that the information is true and
                                          correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on         04/21/2025
                                                               MM/ DD / YYYY


                                               /s/ Robert Del Genio                                           Robert Del Genio
                                               Signature of authorized representative of debtor                Printed name

                                               Title   Chief Restructuring Officer




18. Signature of attorney                      /s/ Jason G. Cohen                                             Date        04/21/2025
                                               Signature of attorney for debtor                                           MM/DD/YYYY



                                               Jason G. Cohen
                                               Printed name
                                               Bracewell LLP
                                               Firm name
                                               711 Louisiana Street, Suite 2300
                                               Number                 Street
                                               Houston                                                                Texas             77002
                                               City                                                                   State               ZIP Code

                                               (713) 223-2300                                                         jason.cohen@bracewell.com
                                               Contact phone                                                              Email address
                                               24050435                                            Texas
                                               Bar number                                          State




   Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
                 Case 25-90127 Document 1 Filed in TXSB on 04/21/25 Page 5 of 22




 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                           Southern District of Texas
                                       (State)                                                       ☐ Check if this is an
 Case number (if known):                                Chapter   11                                     amended filing


                                                    Rider 1
                     Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11 of the United States
Code. The Debtors have moved for joint administration of these cases under the case number assigned to the
chapter 11 case of Ascend Performance Materials Holdings Inc.

    •    Ascend Performance Materials Holdings Inc.
    •    APM (Canada) LLC
    •    APM (PR) LLC
    •    APM Disc Holdings LLC
    •    APM Disc Inc.
    •    APM Foreign Holdings LLC
    •    Ascend Performance Materials Consumer Solutions Holdings LLC
    •    Ascend Performance Materials Consumer Solutions LLC
    •    Ascend Performance Materials Inc.
    •    Ascend Performance Materials Operations LLC
    •    Ascend Performance Materials Texas Inc.
                  Case 25-90127 Document 1 Filed in TXSB on 04/21/25 Page 6 of 22



                                     UNITED STATES BANKRUPTCY COURT
                                    FOR THE SOUTHERN DISTRICT OF TEXAS
                                             HOUSTON DIVISION


                                                            )
         In re:                                             )      Chapter 11
                                                            )
         ASCEND PERFORMANCE MATERIALS                       )      Case No. 25-___________(___)
         HOLDINGS INC.,                                     )
                                                            )
                                 Debtor.                    )
                                                            )

                                       LIST OF EQUITY SECURITY HOLDERS 1


    Equity Holder             Address of Equity Holder          Percentage of Equity Held         Type of Equity
                                   1515 N Federal
SK Titan Holdings LLC            Highway, Suite 405                      93.33%                   Common Stock
                                Boca Raton, FL 33432
[Redacted]                            [Redacted]                         1.90%                    Common Stock

[Redacted]                            [Redacted]                         1.90%                    Common Stock

[Redacted]                            [Redacted]                         1.90%                    Common Stock

[Redacted]                            [Redacted]                         0.95%                    Common Stock




     1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
            Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
            equity as of the date of commencement of the chapter 11 case.
          Case 25-90127 Document 1 Filed in TXSB on 04/21/25 Page 7 of 22



                              UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION


                                                      )
 In re:                                               )    Chapter 11
                                                      )
 ASCEND PERFORMANCE MATERIALS                         )    Case No. 25-___________(___)
 HOLDINGS INC.,                                       )
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                   Shareholder                            Approximate Percentage of Shares Held
 SK Titan Holdings LLC                                                       93.33%
                               Case 25-90127 Document 1 Filed in TXSB on 04/21/25 Page 8 of 22

    Fill in this information to identify the case:

    Debtor name: Ascend Performance Materials Holdings Inc., et al.
    United States Bankruptcy Court for the _Southern District of Texas
                                                 (State)                                                                                                  ☐ Check if this is an amended
    Case number (If known):                                                                                                                               filing

                                                                                       Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders 1                                                   12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims
by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from
inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.

                                                                                                       Nature of the                       Amount of unsecured claim
                                                                                                            claim                          If the claim is fully unsecured, fill in only unsecured
                                                                                                       (for example,                       claim amount. If claim is partially secured, fill in total
                                                                                                                       Indicate if claim
                                                                                                        trade debts,                       claim amount and deduction for value of collateral or
Name of creditor and complete mailing address,         Name, telephone number, and email address of                     is contingent,     setoff to calculate unsecured claim.
                                                                                                        bank loans,
              including zip code                                     creditor contact                                    unliquidated,
                                                                                                        professional                                               Deduction
                                                                                                                          or disputed
                                                                                                       services, and                         Total claim,         for value of
                                                                                                        government                            if partially        collateral or      Unsecured claim
                                                                                                          contracts)                            secured              setoff

                                                     ATTN: CRIS FERREGUR
        SDI INC
                                                     TITLE: SENIOR VICE PRESIDENT OF OPERATIONS          TRADE
1       1414 RADCLIFFE ST STE 300                                                                                                                                                  $25,136,003.60
                                                     PHONE: 215-688-6448                                 DEBTS
        BRISTOL, PA 19007
                                                     EMAIL: CRIS.FERREGUR@SDI.COM


                                                     ATTN: TROY BERGERON
        TURNER INDUSTRIES GROUP LLC
                                                     TITLE: PRESIDENT                                    TRADE
2       P.O. BOX 3688                                                                                                                                                             $13,477,113.69
                                                     PHONE: 225-214-2481                                 DEBTS
        BATON ROUGE, LA 70821
                                                     EMAIL: TPBERGERON@TURNER-INDUSTRIES.COM


                                                     ATTN: CAROLINA BARRIOS
        THE DOW CHEMICAL COMPANY                     TITLE: U.S. COMMERCIAL DIRECTOR – OLEFINS,
                                                                                                         TRADE
3       2040 DOW CTR                                 AROMATICS & ALTERNATIVES                                                                                                      $8,439,022.88
                                                                                                         DEBTS
        MIDLAND, MI 48674                            PHONE: 346-221-0253
                                                     EMAIL: CABARRIOS@DOW.COM


                                                     ATTN: MATT MORAN
        SOUTHERN TOWING MIDCO LLC
                                                     TITLE: VICE PRESIDENT – FINANCE & STRATEGY          TRADE
4       1874 THOMAS ROAD                                                                                                                                                           $6,822,995.47
                                                     PHONE: 773-677-9584                                 DEBTS
        MEMPHIS, TN 38134
                                                     EMAIL: M.MORAN@SOUTHERNDEVALL.COM


                                                     ATTN: MATT POWELL
        MARATHON PETROLEUM COMPANY LP                TITLE: SENIOR TRADER – PETROCHEMICALS
                                                                                                         TRADE
5       539 S. MAIN STREET                           MARKETING                                                                                                                     $6,006,457.48
                                                                                                         DEBTS
        FINDLAY, OH 45840                            PHONE: 419-421-3193
                                                     EMAIL: MCPOWELL@MARATHONPETROLEUM.COM


                                                     ATTN: SABRINA TULON
        CITGO PETROLEUM CORP
                                                     TITLE: SENIOR LEGAL COUNSEL                         TRADE
6       6100 S YALE AVE                                                                                                                                                            $5,737,744.02
                                                     PHONE: 281-447-9310                                 DEBTS
        TULSA, OK 74136
                                                     EMAIL: STULON@CITGO.COM


                                                     ATTN: DAKE STAGNER
        REPCON INC                                   TITLE: SENIOR BUSINESS DEVELOPMENT
                                                                                                         TRADE
7       P.O. BOX 9316                                MANAGER                                                                                                                       $5,372,079.89
                                                                                                         DEBTS
        CORPUS CHRISTI, TX 78469                     PHONE: 832-742-2843
                                                     EMAIL: DVSTAGNER@REPCON.COM


                                                     ATTN: SHIREEN HARVEY
        VEOLIA WTS USA INC
                                                     TITLE: CPI VERTICAL BUSINESS DEVELOPMENT            TRADE
8       3600 HORIZON BLVD                                                                                                                                                          $4,382,069.38
                                                     PHONE: 409-730-9001                                 DEBTS
        FEASTERVILLE TREVOSE, PA 19053
                                                     EMAIL: SHIREEN.PIRTLE@VEOLIA.COM


                                                     ATTN: PJ BLOCK
        ALTIVIA PETROCHEMICALS LLC
                                                     TITLE: PRESIDENT                                    TRADE
9       1100 LOUISIANA ST STE 4800                                                                                                                                                 $3,330,028.95
                                                     PHONE: 614-302-6159                                 DEBTS
        HOUSTON, TX 77002
                                                     EMAIL: PBLOCK@ALTIVIA.COM


                                                     ATTN: BO LITTLETON
        ROBBIE D. WOOD, INC.
                                                     TITLE: GULF COAST SALES MANAGER                     TRADE
10      1051 OLD WARRIOR RIVER RD                                                                                                                                                  $2,347,678.06
                                                     PHONE: 281-245-9705                                 DEBTS
        BESSEMER, AL 35023
                                                     EMAIL: BO@ROBBIEDWOOD.COM




1
        On a consolidated basis. The information herein shall not constitute an admission of liability by, nor is it binding on, and Debtors with
        respect to all or any portion of the claims listed below. Moreover, nothing herein shall affect any Debtor’s right to challenge the amount
        or characterization of any claim at a later date.

    Official Form 204                                      List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                              Page 1
                             Case 25-90127 Document 1 Filed in TXSB on 04/21/25 Page 9 of 22
                                                                                                   Nature of the                       Amount of unsecured claim
                                                                                                        claim                          If the claim is fully unsecured, fill in only unsecured
                                                                                                   (for example,                       claim amount. If claim is partially secured, fill in total
                                                                                                                   Indicate if claim
                                                                                                    trade debts,                       claim amount and deduction for value of collateral or
Name of creditor and complete mailing address,     Name, telephone number, and email address of                     is contingent,     setoff to calculate unsecured claim.
                                                                                                    bank loans,
              including zip code                                 creditor contact                                    unliquidated,
                                                                                                    professional                                               Deduction
                                                                                                                      or disputed
                                                                                                   services, and                         Total claim,         for value of
                                                                                                    government                            if partially        collateral or      Unsecured claim
                                                                                                      contracts)                            secured              setoff

                                                 ATTN: JAY HABAYEB
     BASF CORPORATION
                                                 TITLE: BUSINESS DIRECTOR - OLEFINS                  TRADE
11   1000 CAMPUS DR                                                                                                                                                            $2,296,067.92
                                                 PHONE: 346-275-8477                                 DEBTS
     FLORHAM PARK, NJ 07932
                                                 EMAIL: JAY.HABAYEB@BASF.COM


                                                 ATTN: BRAD GINSBURG
     PALLETONE INC.
                                                 TITLE: STRATEGIC ACCOUNT MANAGER                    TRADE
12   113 PIONEER LN                                                                                                                                                            $2,242,278.32
                                                 PHONE: 836-512-9042                                 DEBTS
     SELMA, AL 36701
                                                 EMAIL: BGINSBURG@PALLETONE.COM


                                                 ATTN: DANIEL BRAUD
     SULZER CHEMTECH USA INC
                                                 TITLE: INDUSTRIAL SERVICES BUSINESS LEADER          TRADE
13   P.O. BOX 700480                                                                                                                                                           $2,182,007.52
                                                 PHONE: 281-441-5241                                 DEBTS
     TULSA, OK 74170
                                                 EMAIL: DANIEL.BRAUD@SULZER.COM


                                                 ATTN: DEREK CURRY
     INTERNATIONAL PAPER CO
                                                 TITLE: ORDER TO CASH PROCESS OWNER                  TRADE
14   2 MANHATTANVILLE RD                                                                                                                                                       $2,169,483.21
                                                 PHONE: 901-315-2026                                 DEBTS
     PURCHASE, NY 10577
                                                 EMAIL: DEREK.CURRY@IPAPER.COM


                                                 ATTN: TROY BERGERON
     TURNER SPECIALTY SERVICES LLC
                                                 TITLE: PRESIDENT                                    TRADE
15   P.O. BOX 2750                                                                                                                                                             $2,118,403.68
                                                 PHONE: 225-214-2481                                 DEBTS
     BATON ROUGE, LA 70821
                                                 EMAIL: TPBERGERON@TURNERINDUSTRIES.COM

                                                 ATTN: ASHLEY SCHARNBERG
                                                 TITLE: DIRECTOR – MARKETING &
     KINDER MORGAN OPERATING L.P.
                                                 TRANSPORTATION                                      TRADE
16   1001 LOUISIANA ST                                                                                                                                                         $2,033,537.73
                                                 PHONE: 713-420-3228                                 DEBTS
     HOUSTON, TX 77002
                                                 EMAIL:
                                                 ASHLEY_SCHARNBERG@KINDERMORGAN.COM

                                                 ATTN: BEN ROGERS
     IODITECH INC
                                                 TITLE: VICE PRESIDENT OF FINANCE & SALES            TRADE
17   951 N TOPPING AVE                                                                                                                                                         $2,033,508.48
                                                 PHONE: 270-348-1614                                 DEBTS
     KANSAS CITY, MO 64120
                                                 EMAIL: BENR@IODITECH.COM


                                                 ATTN: XAVER KARSUNKE
     CLARIANT CORPORATION
                                                 TITLE: VICE PRESIDENT – SPECIALTIES                 TRADE
18   500 E MOREHEAD ST STE 400                                                                                                                                                 $1,996,130.36
                                                 PHONE: +49 89-5110-621                              DEBTS
     CHARLOTTE, NC 28202
                                                 EMAIL: XAVER.KARSUNKE@CLARIANT.COM


                                                 ATTN: RACHAEL KITTLESON
     MICROSOFT CORPORATION
                                                 TITLE: ACCOUNT EXECUTIVE                            TRADE
19   1 MICROSOFT WAY                                                                                                                                                           $1,977,908.92
                                                 PHONE: 832-419-4193                                 DEBTS
     REDMOND, WA 98052
                                                 EMAIL: RACHAEL.KITTLESON@MICROSOFT.COM


                                                 ATTN: SCOTT BURGE
     PROCESS COMBUSTION CORPORATION
                                                 TITLE: VICE PRESIDENT – SALES                       TRADE
20   300 WEYMAN RD STE 400                                                                                                                                                     $1,915,396.52
                                                 PHONE: 412-655-0955                                 DEBTS
     PITTSBURGH, PA 15236
                                                 EMAIL: SBURGE@PCC-GROUP.COM



     GULF COAST WATER AUTHORITY                  ATTN: KELLY DIETRICH
                                                                                                     TRADE
21   3630 FM 1765                                PHONE: 409-935-2438                                                                                                           $1,866,861.36
                                                                                                     DEBTS
     TEXAS CITY, TX 77591                        EMAIL: KDIETRICH@GCWATX.GOV



                                                 ATTN: TRACEY GABBARD
     WILLIS TOWERS WATSON INSURANCE
                                                 TITLE: SENIOR ASSOCIATE                             TRADE
22   800 N GLEBE RD FL 10                                                                                                                                                      $1,854,999.72
                                                 PHONE: 713-331-4722                                 DEBTS
     ARLINGTON, VA 22203
                                                 EMAIL: TRACEY.GABBARD@WTWCO.COM


     ENTERPRISE PRODUCTS OPERATING               ATTN: MATTHEW RUSH
     LLC                                         TITLE: DIRECTOR – PETROCHEMICALS MARKETING          TRADE
23                                                                                                                                                                             $1,795,328.96
     1100 LOUISIANA ST                           PHONE: 713-381-5236                                 DEBTS
     HOUSTON, TX 77002                           EMAIL: MKRUSH@EPROD.COM


                                                 ATTN: RANCE FROMME
     TIVOLI MIDSTREAM CB HOLDINGS LLC
                                                 TITLE: FOUNDING PARTNER, PRESIDENT & CEO            TRADE
24   2929 ALLEN PKWY STE 200                                                                                                                                                   $1,650,046.72
                                                 PHONE: 832-787-1099                                 DEBTS
     HOUSTON, TX 77019
                                                 EMAIL: RFROMME@TIVOLIMIDSTREAM.COM




 Official Form 204                                     List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                              Page 2
                            Case 25-90127 Document 1 Filed in TXSB on 04/21/25 Page 10 of 22
                                                                                                   Nature of the                       Amount of unsecured claim
                                                                                                        claim                          If the claim is fully unsecured, fill in only unsecured
                                                                                                   (for example,                       claim amount. If claim is partially secured, fill in total
                                                                                                                   Indicate if claim
                                                                                                    trade debts,                       claim amount and deduction for value of collateral or
Name of creditor and complete mailing address,     Name, telephone number, and email address of                     is contingent,     setoff to calculate unsecured claim.
                                                                                                    bank loans,
              including zip code                                 creditor contact                                    unliquidated,
                                                                                                    professional                                               Deduction
                                                                                                                      or disputed
                                                                                                   services, and                         Total claim,         for value of
                                                                                                    government                            if partially        collateral or      Unsecured claim
                                                                                                      contracts)                            secured              setoff

                                                 ATTN: DANIEL YATES
     FREEPORT WELDING & FABRICATING,
                                                 TITLE: VICE PRESIDENT OF ENGINEERING                TRADE
25   INC 200 NAVIGATION BLVD                                                                                                                                                   $1,642,024.91
                                                 PHONE: 979-233-0121                                 DEBTS
     FREEPORT, TX 77541
                                                 EMAIL: DANNY@FREEWELD.COM


     INVISTA (CHINA) INVESTMENT CO., LTD.        ATTN: LINDA SHEN
                                                                                                                    CONTINGENT,
     UNIT 1801, ANLIAN PLAZA, NO. 168            TITLE: FINANCE MANAGER                            LIQUIDATED
26                                                                                                                 UNLIQUIDATED,                                             UNDETERMINED
     JINGZHOU ROAD, YANGPU                       PHONE: +86 21-6389-9121                            DAMAGES
                                                                                                                     DISPUTED
     DISTRICT,200082, SHANGHAI, P.R. CHINA       EMAIL: LINDA.SHEN@INVISTA.COM


                                                 ATTN: NANCY KOWALSKI
     INV NYLON CHEMICALS AMERICAS, LLC           TITLE: EXECUTIVE VICE PRESIDENT – NYLON                            CONTINGENT,
                                                                                                   LIQUIDATED
27   4111 E 37TH ST N                            INTERMEDIATES                                                     UNLIQUIDATED,                                             UNDETERMINED
                                                                                                    DAMAGES
     WICHITA, KS 67220                           PHONE: 316-828-1000                                                 DISPUTED
                                                 EMAIL: NANCY.KOWALSKI@INVISTA.COM
                                                 ATTN: MICHAEL DONMOYER
                                                 TITLE: EXECUTIVE VICE PRESIDENT
                                                 PHONE: 303-390-3066
     MASTEC POWER CORP.                                                                                             CONTINGENT,
                                                 EMAIL: MICHAEL.DONMOYER@MASTEC.COM
     6446 S. KENTON STREET, SUITE 100
28                                                                                                 LITIGATION      UNLIQUIDATED,                                             UNDETERMINED
     CENTENNIAL, COLORADO 80111                  ATTN: BRETT GROSS                                                   DISPUTED
                                                 TITLE: GENERAL COUNSEL
                                                 PHONE: 303-390-3087
                                                 EMAIL: BRETT.GROSS@MASTEC.COM

     MHBA CB, LLP                                ATTN: DAVID M. FEDDER
                                                                                                                    CONTINGENT,
     CARMODY MACDONALD PC.                       TITLE: PRINCIPAL
29                                                                                                 LITIGATION      UNLIQUIDATED,                                             UNDETERMINED
     120 S. CENTRAL AVE., SUITE 1800             PHONE: 324-854-8656
                                                                                                                     DISPUTED
     ST. LOUIS, MISSOURI 63105                   EMAIL: DMF@CARMODYMACDONALD.COM



     BP ENERGY COMPANY                           ATTN: SAM WEAVER                                                   CONTINGENT,
                                                                                                     TRADE
30   5014 WESTLAKE PARK BLVD                     PHONE: 251-445-1218                                               UNLIQUIDATED,                                             UNDETERMINED
                                                                                                     DEBTS
     HOUSTON, TX 77079                           EMAIL: SAMUEL.WEAVER@BP.COM                                         DISPUTED




 Official Form 204                                     List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                              Page 3
                Case 25-90127 Document 1 Filed in TXSB on 04/21/25 Page 11 of 22



    Fill in this information to identify the case and this filing:

   Debtor Name          Ascend Performance Materials Holdings Inc.

   United States Bankruptcy Court for the:                Southern District of Texas
                                                                                                  (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders and Corporate Ownership Statement


    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                        04/21/2025                                /s/ Robert Del Genio
                                        MM/ DD/YYYY                              Signature of individual signing on behalf of debtor
                                                                                 Robert Del Genio
                                                                                 Printed name
                                                                                 Chief Restructuring Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
Docusign Envelope ID: C1850D31-88A5-42FF-B896-3B60E1F81C80
                      Case 25-90127 Document 1 Filed in TXSB on 04/21/25 Page 12 of 22




                                          OMNIBUS ACTION BY
                                 UNANIMOUS WRITTEN CONSENT OF THE
                           BOARDS OF DIRECTORS AND THE BOARDS OF MANAGERS

                                                     Dated as of April 21, 2025

                      WHERAS, the undersigned, being all of the members of the Boards of Directors or the
             Boards of Managers (each a “Governing Body”), as applicable, of each of the entities listed on
             Schedule I herein (each a “Company” and collectively, the “Companies”), as Governing Body of
             such Company hereby take the following actions by unanimous written consent (this “Consent”)
             in lieu of a special meeting in accordance with the bylaws, operating agreements, or limited
             liability company agreements of each Company (collectively, the “Governing Documents”), as
             applicable, and the applicable laws of the jurisdiction in which each Company is organized, do
             hereby approve, consent to, and adopt the following recitals and resolutions, with the same force
             and effect as if they had been adopted at a duly convened special meeting of each Governing Body;

                      WHEREAS, the Governing Body of each Company has reviewed and considered: (i) the
             filing of voluntary petitions for relief (the “Bankruptcy Petitions”) for each Company under the
             provisions of chapter 11 of title 11 of the United States Code, 11 U.S.C. § 101 et seq. (as amended,
             the “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of Texas
             (the “Bankruptcy Court”) pursuant to the Governing Documents, as applicable, of each Company
             and the applicable laws of the jurisdiction in which each Company is organized (the “Chapter 11
             Filing”); (ii) the debtor-in-possession financing facility contemplated in connection therewith; and
             (iii) the retention of professionals by each Company;

                     WHEREAS, the Special Committee (each a, “Special Committee,” and collectively,
             the “Special Committees”) of Ascend Performance Materials Holdings Inc. (“Holdings”) was
             formed pursuant to that certain Unanimous Written Consent of the Board of Directors dated
             January 27, 2025 (the “TopCo Special Committee Resolution”) and the Special Committees of
             APM Disc Inc. and each of Holding’s subsidiaries and affiliates as signatories to this Consent were
             formed pursuant to that certain Unanimous Written Consent of the Undersigned Entities dated
             April 7, 2025 (the “Omnibus Special Committee Resolution,” and together with the TopCo Special
             Committee Resolution, the “Special Committee Resolutions”);

                      WHEREAS, pursuant to the Special Committee Resolutions, each Company has delegated
             to its respective Special Committees (a) the authority to investigate and determine, in the Special
             Committee’s business judgment, whether any matter arising in or related to any restructuring,
             reorganization, and/or other recapitalization transaction the Company and/or one or more of its
             subsidiaries and/or affiliates (any such transaction, a “Transaction”) constitutes a Conflicts Matter
             (as defined in the Special Committee Resolutions), and (b) the exclusive authority and power to
             review, discuss, consider, negotiate, approve, and authorize its respective Company’s entry into,
             and consummation of, a Transaction and to take such other actions with respect thereto as shall be
             authorized, solely to the extent that all or a portion of the Transaction constitutes a Conflicts
             Matter;

                    WHEREAS, the Special Committees have had the opportunity to consult with the financial
             and legal advisors of the Companies and review the chapter 11 preparation materials provided by
Docusign Envelope ID: C1850D31-88A5-42FF-B896-3B60E1F81C80
                      Case 25-90127 Document 1 Filed in TXSB on 04/21/25 Page 13 of 22




             the financial and legal advisors, and, to the extent of any Conflict Matter (as defined in the Special
             Committee Resolutions), the Special Committees recommend the adoption of this Consent and
             that the Companies take the actions set forth herein; and

                    WHEREAS, each Governing Body has reviewed and considered the materials presented
             by the management of each Company and each Company’s financial and legal advisors, and has
             had adequate opportunity to consult with such persons regarding the materials presented, obtain
             additional information, and to fully consider each of the strategic alternatives available to the
             Companies.

                     NOW, THEREFORE, IT IS HEREBY RESOLVED, that, pursuant to the Governing
             Documents, each Governing Body has determined, in its business judgment, that the following
             resolutions are advisable and in the best interest of the Companies and hereby adopt the following
             resolutions:

                 1. CHAPTER 11 FILING

                     RESOLVED, that in the business judgment of each Governing Body, it is desirable and
             maximizes the value of each Company for the benefit of all stakeholders, for each Company to file
             or cause to be filed the Bankruptcy Petitions under the Bankruptcy Code in the Bankruptcy Court,
             and any other petition for relief or recognition or other order that may be desirable under applicable
             law in the United States;

                     FURTHER RESOLVED, that in accordance with the Governing Documents, as
             applicable, of each Company and the applicable laws of the jurisdiction in which each Company
             is organized, hereby consents to, authorizes, and approves the filing of the Bankruptcy Petitions;
             and

                     FURTHER RESOLVED, that any Authorized Signatory, with the power of delegation,
             is hereby authorized and directed for and on behalf of each Company to take all actions (including,
             without limitation, to negotiate and execute any documents, certificates, supplemental agreements,
             and instruments) to act as signatory and attorney on behalf of each Company in respect of the
             Restructuring Matters and/or any persons to whom such Authorized Signatories delegate certain
             responsibilities, be, and hereby are, authorized, empowered, and directed to execute and file on
             behalf of each Company all petitions, schedules, lists, and other motions, papers, or documents,
             and to take any and all actions that they deem necessary or proper to obtain such relief, including,
             without limitation, any action necessary or proper to maintain the ordinary course operations of
             each Company’s business.

                 2. DEBTOR-IN-POSSESSION FINANCING, CASH                              COLLATERAL,            AND
                    ADEQUATE PROTECTION OBLIGATIONS

                    WHEREAS, each of the Companies are party to that certain Third Amended and Restated
             Credit Agreement dated as of August 27, 2019 (as amended, restated, supplemented or otherwise
             modified from time to time, the “ABL Credit Agreement”), by and among Ascend Performance
             Materials Operations LLC, Ascend Performance Materials Inc., Ascend Performance Materials
             Texas Inc., Ascend Performance Materials European Limited Ascend Performance Materials
             Holdings Inc., as borrowers, Ascend Performance Materials Holdings Inc. as holdings, the


                                                               2
Docusign Envelope ID: C1850D31-88A5-42FF-B896-3B60E1F81C80
                      Case 25-90127 Document 1 Filed in TXSB on 04/21/25 Page 14 of 22




             guarantors from time to time party thereto, the lenders party thereto from time to time, and Wells
             Fargo Capital Finance, LLC as administrative agent;

                    WHEREAS, each of the Companies are parties to that certain Credit Agreement (as
             amended, restated, supplemented or otherwise modified from time to time, the “Term Loan Credit
             Agreement,”), dated as of August 27, 2019, by and among Ascend Performance Materials
             Operations LLC, as borrower, Ascend Performance Materials Holdings Inc., as holdings and
             guarantor, the lenders party thereto from time to time, and Wilmington Savings Fund Society,
             FSB, as administrative and collateral agent;

                     WHEREAS, each of the Companies are parties to that certain super senior priority
             new-money facility under that certain Super Priority Credit Agreement (as amended, restated,
             supplement, or otherwise modified from time to time, the “Bridge Credit Agreement” and together
             with the ABL Credit Agreement and Term Loan Credit Agreement, the “Prepetition Credit
             Agreements”), dated as of March 7, 2025, by and among Ascend Performance Materials
             Operations LLC, Ascend Performance Materials Holdings Inc., the guarantors from time to time
             party thereto, the lenders from time to time party thereto, and Wilmington Savings Fund Society,
             FSB, as administrative agent and collateral agent;

                    WHEREAS, reference is made to (i) that certain debtor-in-possession term loan credit
             agreement (together with all exhibits, schedules, and annexes thereto, as amended, restated,
             amended and restated, supplemented or otherwise modified in writing from time to time,
             the “Term Loan DIP Credit Agreement”) dated as of, or about, the date hereof, that sets forth the
             terms and conditions of the debtor-in-possession financing to be provided to the Companies by the
             lenders listed therein; and (ii) that certain debtor-in-possession asset-based revolving credit
             agreement (together with all exhibits, schedules, and annexes thereto, as amended, restated,
             amended and restated, supplemented or otherwise modified in writing from time to time, the “ABL
             DIP Credit Agreement”, and together with the Term Loan DIP Credit Agreement, the “DIP Credit
             Agreements”) dated as of, or about, the date hereof, that sets forth the terms and conditions of the
             debtor-in-possession asset-based revolving credit facility to be provided to the Companies by the
             lenders listed therein; and

                     WHEREAS, each Governing Body has considered presentations by the Companies’
             management and advisors of the Companies regarding the liabilities and liquidity situation of the
             Companies and their affiliates and subsidiaries, the strategic alternatives available to them, and the
             effect of the foregoing on the Companies’ business and has determined, in the business judgment
             of each Governing Body and based on the recommendation from the Companies’ management and
             advisors, that the following resolutions maximize value of the Companies for the benefit of all
             stakeholders.

                     NOW, THEREFORE, IT IS HEREBY RESOLVED, that in the business judgment of
             each Governing Body, it is desirable and maximizes the value of each Company for the benefit of
             all of their stakeholders, to obtain the benefits from (i) the incurrence of debtor-in-possession
             financing obligations by delivering, entering into, and performing under the DIP Credit
             Agreements (collectively, the “DIP Financing”) and (ii) the use of collateral, including cash
             collateral, as that term is defined in section 363(a) of the Bankruptcy Code (the “Cash Collateral”),



                                                               3
Docusign Envelope ID: C1850D31-88A5-42FF-B896-3B60E1F81C80
                      Case 25-90127 Document 1 Filed in TXSB on 04/21/25 Page 15 of 22




             which is security for the secured parties under the Prepetition Credit Agreements (such holders,
             the “Prepetition Secured Parties”);

                     FURTHER RESOLVED, that for each Company to use and benefit from (i) the DIP
             Financing and (ii) the Cash Collateral, and in accordance with sections 105, 361, 362, 363, 364(c),
             364(d), 364(e), 503, and 507 of the Bankruptcy Code, each Company will provide certain liens,
             claims, and adequate protection to the Prepetition Secured Parties (collectively, the “Adequate
             Protection Obligations”), as documented in proposed interim and final orders (collectively,
             the “DIP Orders”) to be submitted to the Bankruptcy Court for approval;

                     FURTHER RESOLVED, that the form, terms, and provisions of the DIP Orders to which
             each Company is or will be subject, and the actions and transactions contemplated thereby be, and
             hereby are authorized, adopted, and approved, and each of the Authorized Signatories of each
             Company be, and hereby is, authorized and empowered, in the name of and on behalf of each
             Company, to take such actions and negotiate or cause to be prepared and negotiated and to execute,
             deliver, perform, and cause the performance of, the DIP Orders, the DIP Credit Agreements, and
             such other agreements, certificates, instruments, receipts, petitions, motions, or other papers or
             documents to which each Company is or will be a party, including, but not limited to, any security
             and pledge agreement or guaranty agreement (collectively with the DIP Orders, the “DIP
             Documents”), incur and pay or cause to be paid all fees and expenses and engage such persons, in
             each case, in the form or substantially in the form thereof submitted to the Companies, with such
             changes, additions, and modifications thereto as the officers of each Company executing the same
             shall approve, such approval to be conclusively evidenced by such officers’ execution and
             delivery thereof;

                     FURTHER RESOLVED, that each Company, as a debtor and debtor in possession under
             the Bankruptcy Code be, and hereby is, authorized, empowered, and directed to incur the Adequate
             Protection Obligations and certain obligations related to the DIP Financing and to undertake any
             and all related transactions on substantially the same terms as contemplated under the DIP
             Documents, including entering into fee letters with the applicable DIP Agents and paying the fees
             and expenses of the DIP Lenders (collectively, the “DIP Transactions”), and including granting
             liens on its assets to secure claims that constitute Adequate Protection Obligations;

                     FURTHER RESOLVED, that the Authorized Signatories of each Company be, and
             they hereby are, authorized and directed, and each of them acting alone hereby is, authorized,
             directed, and empowered in the name of, and on behalf of, each Company, as debtors and debtors
             in possession, to take such actions as in their discretion is determined to be necessary, desirable,
             or appropriate and execute the DIP Transactions, including delivery of: (i) the DIP Documents;
             (ii) such other instruments, certificates, notices, assignments, agent fee letters, and documents
             as may be reasonably requested by the agents; and (iii) such forms of deposit, account control
             agreements, officer’s certificates, compliance certificates, and any other documents as may be
             required by the DIP Documents;

                    FUTHER RESOLVED, that each of the Authorized Signatories of each Company be,
             and hereby is, authorized, directed, and empowered in the name of, and on behalf of, each
             Company to file or to authorize the agents to file any Uniform Commercial Code (the “UCC”)
             financing statements, any other equivalent filings, any intellectual property filings and


                                                               4
Docusign Envelope ID: C1850D31-88A5-42FF-B896-3B60E1F81C80
                      Case 25-90127 Document 1 Filed in TXSB on 04/21/25 Page 16 of 22




             recordation and any necessary assignments for security or other documents in the name each
             Company that the agents deem necessary or appropriate to perfect any lien or security interest
             granted under the DIP Orders, including any such UCC financing statement containing a generic
             description of collateral, such as “all assets,” “all property now or hereafter acquired” and other
             similar descriptions of like import, and to execute and deliver, and to record or authorize the
             recording of, such mortgages and deeds of trust in respect of real property of each Company and
             such other filings in respect of intellectual and other property of each Company, in each case as
             the agents may reasonably request to perfect the security interests of the agents under the DIP
             Orders or any of the other DIP Documents; and

                    FURTHER RESOLVED, that each of the Authorized Signatories of each Company be,
             and hereby is, authorized, directed, and empowered in the name of, and on behalf of, each
             Company to take all such further actions, including, without limitation, to pay or approve the
             payment of all fees and expenses payable in connection with the DIP Transactions and all fees and
             expenses incurred by or on behalf of each Company in connection with the foregoing resolutions,
             in accordance with the terms of the DIP Documents, which shall in their sole judgment be
             necessary, desirable, proper, or advisable to perform any of each Company’s obligations under or
             in connection with the DIP Orders or any of the other DIP Documents and the transactions
             contemplated therein and to carry out fully the intent of the foregoing resolutions.

                 3. RETENTION OF PROFESSIONALS

                     RESOLVED, that each of the Authorized Signatories be, and hereby are, authorized,
             empowered, and directed to employ on behalf of each Company: (i) Kirkland & Ellis LLP and
             Kirkland & Ellis International LLP as restructuring counsel; (ii) Bracewell LLP as co-bankruptcy
             counsel; (iii) PJT Partners, Inc. as investment banker; (iv) FTI Consulting, Inc as restructuring
             advisor; (v) Epiq Corporate Restructuring, LLC as claims and noticing agent; (vi) Deloitte LLP as
             tax advisor; (vii) Katten Muchin Rosenman LLP as counsel to the Disinterested Directors; and
             (viii) any other legal counsel, accountants, financial advisors, restructuring advisors, or other
             professionals the Authorized Signatories deem necessary, appropriate, or advisable; each to
             represent and assist each Company in carrying out its duties and responsibilities and exercising its
             rights under the Bankruptcy Code and any applicable law (including, but not limited to, the law
             firms filing any motions, objections, replies, applications, pleadings, or responses); and

                     FURTHER RESOLVED, that each of the Authorized Signatories be, and they hereby are,
             authorized and directed to employ any other professionals to assist each Company in carrying out
             its duties under the Bankruptcy Code; and in connection therewith, each of the Authorized
             Signatories, with power of delegation, is hereby authorized and directed to execute appropriate
             retention agreements, to pay appropriate retainers and fees, and to cause to be filed appropriate
             applications for authority to retain the services of any other professionals as necessary.

                 4. GENERAL

                     RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
             Authorized Signatories, each of the Authorized Signatories (and their designees and delegates),
             either individually or as otherwise required by the Governing Documents, as applicable, of each
             Company and the applicable laws of the jurisdiction in which each Company is organized, be, and


                                                               5
Docusign Envelope ID: C1850D31-88A5-42FF-B896-3B60E1F81C80
                      Case 25-90127 Document 1 Filed in TXSB on 04/21/25 Page 17 of 22




             each of them hereby is, authorized to execute, acknowledge, deliver, and file any and all
             agreements, certificates, instruments, powers of attorney, letters, forms, transfer, deeds, and other
             documents on behalf of each Company relating to the foregoing resolutions;

                     FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby are,
             authorized, empowered, and directed to execute and file all petitions, schedules, motions, lists,
             applications, pleadings, and other papers and to perform such further actions and execute such
             further documentation that the Authorized Signatories in their absolute discretion deem necessary,
             proper, appropriate, or desirable in connection with chapter 11 cases of each Company and in
             accordance with the foregoing resolutions.

                     FURTHER RESOLVED, that each of the Authorized Signatories (and their designees
             and delegates) be, and hereby is, authorized and empowered, in the name of and on behalf of each
             Company to take or cause to be taken any such other and further action, and to execute,
             acknowledge, deliver, and file any and all such agreements, certificates, instruments, and other
             documents and to pay all expenses, retainers, and fees, including but not limited to filing fees, in
             each case as in such Authorized Signatory’s absolute discretion, shall be necessary, appropriate,
             or desirable in order to fully carry out the intent and accomplish the purposes of the resolutions
             adopted herein;

                     FURTHER RESOLVED, that each Governing Body has received sufficient notice of the
             actions and transactions relating to the matters contemplated by the foregoing resolutions, as may
             be required by the Governing Documents, as applicable, of each Company, or hereby waives any
             right to have received such notice;

                      FURTHER RESOLVED, that all acts, actions, and transactions relating to the matters
             contemplated by the foregoing resolutions done in the name of and on behalf of each Company,
             which acts would have been approved by the foregoing resolutions except that such acts were
             taken before the adoption of these resolutions, are hereby in all respects approved, confirmed and
             ratified as the true acts and deeds of each Company with the same force and effect as if each such
             act, transaction, agreement, or certificate had been specifically authorized in advance by resolution
             of each Company; and

                     FURTHER RESOLVED, that any Authorized Signatory (and their designees and
             delegates) be, and each of them hereby is, authorized to do all such other acts, deeds and other
             things as each Company itself may lawfully do, in accordance with the Governing Documents, as
             applicable, of each Company and the applicable laws of the jurisdiction in which each Company
             is organized, howsoever arising in connection with the matters above, or in furtherance of the
             intentions expressed in the foregoing resolutions, including, but not limited to, the negotiation,
             finalization, execution, and delivery of any other agreements, certificates, instruments, powers of
             attorney, letters, forms, transfer, deeds, and other documents whatsoever as the individual acting
             may in his/her absolute and unfettered discretion approve, deem or determine necessary,
             appropriate or advisable, such approval, deeming, or determination to be conclusively evidenced
             by said individual taking such action or the execution thereof.




                                                              6
Docusign Envelope ID: C1850D31-88A5-42FF-B896-3B60E1F81C80
                      Case 25-90127 Document 1 Filed in TXSB on 04/21/25 Page 18 of 22




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Docusign Envelope ID: C1850D31-88A5-42FF-B896-3B60E1F81C80
                      Case 25-90127 Document 1 Filed in TXSB on 04/21/25 Page 19 of 22




                     IN WITNESS WHEREOF, the undersigned, constituting all of the Directors of Ascend
             Performance Materials Holdings Inc., do hereby consent to the foregoing actions and resolutions
             effective as of the date first written above. This unanimous written consent may be executed in
             counterparts, each of which shall be deemed an original and all of which together shall constitute
             one and the same instrument. This unanimous written consent may be executed by facsimile or
             email transmission and such facsimile or email transmission shall be valid and binding to the same
             extent as if it were an original.



                                                             Barry Siadat



                                                             Jamshid Keynejad



                                                             Jack Norris



                                                             Phil McDivitt



                                                             Charlie Piper



                                                             Todd Arden



                                                             Michael Wartell



                                                             BEING THE BOARD OF DIRECTORS OF
                                                             ASCEND PERFORMANCE MATERIALS
                                                             HOLDINGS INC.




                          [Signature Page to Omnibus Written Consent – Board Filing Resolutions]
Docusign Envelope ID: C1850D31-88A5-42FF-B896-3B60E1F81C80
                      Case 25-90127 Document 1 Filed in TXSB on 04/21/25 Page 20 of 22




                     IN WITNESS WHEREOF, the undersigned, constituting all of the directors of APM Disc
             Inc., do hereby consent to the foregoing actions and resolutions effective as of the date first written
             above. This unanimous written consent may be executed by facsimile or email transmission and
             such facsimile or email transmission shall be valid and binding to the same extent as if it were an
             original.



                                                             Jamshid Keynejad



                                                             Todd Arden



                                                             Charlie Piper



                                                             Michael Wartell



                                                             BEING THE BOARD OF DIRECTORS OF
                                                             APM DISC INC.




                          [Signature Page to Omnibus Written Consent – Board Filing Resolutions]
Docusign Envelope ID: C1850D31-88A5-42FF-B896-3B60E1F81C80
                      Case 25-90127 Document 1 Filed in TXSB on 04/21/25 Page 21 of 22




                     IN WITNESS WHEREOF, the undersigned, constituting all of the directors or managers,
             as applicable, of the entities listed on Schedule I, do hereby consent to the foregoing actions and
             resolutions effective as of the date first written above. This unanimous written consent may be
             executed by facsimile or email transmission and such facsimile or email transmission shall be valid
             and binding to the same extent as if it were an original.



                                                             Phil McDivitt



                                                             Todd Arden



                                                             Charlie Piper



                                                             Michael Wartell



                                                             BEING THE BOARDS OF DIRECTORS OR
                                                             MANAGERS OF THE ENTITIES LISTED ON
                                                             SCHEUDLE I




                          [Signature Page to Omnibus Written Consent – Board Filing Resolutions]
Docusign Envelope ID: C1850D31-88A5-42FF-B896-3B60E1F81C80
                      Case 25-90127 Document 1 Filed in TXSB on 04/21/25 Page 22 of 22




                                                             Schedule I

                                        Entity                            Jurisdiction of Formation
                                 APM (Canada) LLC                                 Delaware
                                    APM (PR) LLC                                  Delaware
                               APM Disc Holdings LLC                              Delaware
                              APM Foreign Holdings LLC                            Delaware
             Ascend Performance Materials Consumer Solutions Holdings LLC         Delaware
                 Ascend Performance Materials Consumer Solutions LLC              Delaware
                           Ascend Performance Materials Inc.                      Delaware
                     Ascend Performance Materials Operations LLC                  Delaware
                        Ascend Performance Materials Texas Inc.                   Delaware
